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Exhibit B
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CONNECTICUT

GERVIL ST. LOUIS, : No. 3:13CV1132 (RNC)
Plaintiff, :

VS

DOUGLAS PERLITZ, ET AL, :
Defendants. : DECEMBER 16, 2014

TELEPHONE CONFERENCE

BEFORE: HON. ROBERT N. CHATIGNY, U.S.D.J.

Darlene A. Warner, RDR-CRR
Official Court Reporter

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APPEARANCES:

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FOR SOVEREIGN MILITARY HOSPITALLER ORDER OF
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2:00 P.M.

THE COURT REPORTER: Good afternoon, Judge
Chatigny has joined the conference. Please state your
appearances.

MR. GARABEDIAN: Mitchell Garabedian for the
plaintiffs.

MR. GORDON: Attorney William H. Gordon for
plaintiffs.

MR. ERRANTE: Steven Errante and Marisa Bellair
for the plaintiffs.

MR. HANLY: Paul Hanly, plaintiffs.

MS. BIERSTEIN: Andrea Bierstein for the
plaintiffs.

MS. CONROY: Jayne Conroy, plaintiffs.

MS. HURD: Ellyn Hurd, plaintiffs.

MR. FOLKMAN: Ted Folkman and Tim O'Neill for
Father Carrier.

MS. GOLDBERG: Tom Goldberg and Kathy Newman for
Fairfield University.

MR KERRIGAN: Michael Kerrigan on behalf of the
Society of Jesus of New England.

MR. BABBITT: Bradford Babbitt and Brett
Boskiewicz on behalf of the order of Malta, Your Honor.

THE COURT: Is that everybody?

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SPEAKER: I think so, Judge.

THE COURT: Yes, all right. As I recall, we set
this telephone conference to keep abreast of the status of
the litigation and not for any more specific purpose. If
I'm mistaken about that, I apologize.

But in any case, as we convene the conference
today, we have on the docket a motion to amend filed by
the plaintiff, Emmanuel Clervil, as well as motions to
seal. Do counsel want to take up those motions at this
time?

MR. GORDON: Yes.

THE COURT: Who was speaking, please?

MR. GORDON: This is Attorney William Gordon. I
represent plaintiffs.

THE COURT: All right.

MR. FOLKMAN: Your Honor, this is Ted Folkman
for Father Carrier. We've requested oral argument on the
motion for leave to amend. We didn't prepare to argue it
today and our preference in any event would be that the
Court set a date for argument on that motion.

THE COURT: Well, I'll defer to you. I --

MS. BIERSTEIN: Your Honor, this is Andrea
Beirstein.

On the motion to amend, I don't know that that

requires oral argument. If the Court has questions, I

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mean, we would be prepared to answer questions on that
today.

I know Mr. Folkman has asked for argument, but I
don't know whether it's necessary to set a special day and
set aside a day to come argue it. Obviously it's up to
Your Honor, but we're prepared to answer questions now or
at a later date if that's easier for the Court.

MR. FOLKMAN: Your Honor, I certainly am
prepared to discuss it. I think it's a weighty and
Significant motion. So I leave it to Your Honor what you
wish to do.

THE COURT: I've read your papers and I'm
prepared to discuss it with you. I'm not going to insist
on that. If you want to come in and have a formal
argument, it's okay with me. My own view is that we can
proceed today, but again, I'm not going to insist on that
if you feel strongly about it.

MR. FOLKMAN: Your Honor, it's Ted Folkman.

IT -~- as long as the Court is open to the possibility of
setting aside some time to discuss it, that would be my
preference simply because, you know, I think it is a big
motion and we haven't -- while I can certainly discuss it
today and answer questions, you know, I think it's worthy
of an actual hearing and I'd prefer to have the

opportunity to present the arguments in full.

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Perhaps we could combine it with the next court
appearance so as not to drag everybody down for a special
visit.

MS. BIERSTEIN: Your Honor, Andrea Beirstein.
Obviously if Mr. Folkman wants argument and the Court is
prepared to grant it, that's fine with us. The only
request I would have in that context, this is our motion
and we'd rather it not sit for a period of weeks or
months.

So I appreciate Mr. Folkman's willingness to
combine it with the next appearance we would otherwise
have, but we would request that if there is to be
argument, that it be sooner rather than later because I
think we need to know. And Mr. Folkman in fact seems to
want to know whether these claims are in the case or not.
So I would ask that we not let it hang out there for
months without knowing where they are.

MR. FOLKMAN: And that's fine with me too, Your
Honor. As soon as the Court wants to notice it, any time
is fine.

THE COURT: Okay. Well, our schedule is very
full here with trials and sentencings and evidentiary
hearings and so on. I'll need to check and see when we
can get to this if you want oral argument in court. I'm

not in a position to give you a date now.

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I will refrain from commenting further on it
except to say that I'm concerned that the record reflects
contradictory answers to interrogatories and the proffered
explanation is that the plaintiff was under a
misapprehension that it was okay to conceal information,
and I take seriously the statement by defense counsel that
the Court should not countenance this. So in that
context, I'll look forward to discussing it with you in
court.

What about the motions to seal? Do you want to
take those up today or would you like me to hold off on
those as well?

MS. BIERSTEIN: Your Honor, we'd be happy to
take up the motion to seal today if the defendants are
prepared to do that.

I do want to mention a related -- point, and I
know it's not exactly the question you asked but I think
it's a good time maybe to mention it -- which is, I think
Your Honor probably is aware from looking at the papers
that the motion to seal relates to another motion that is
the plaintiffs' motion to compel, which at the moment is
an unfiled motion. And it's unfiled because until we have
a ruling on the motion to seal, we don't know whether that
can be publicly filed or needs to be filed under seal.

And I wanted to alert the Court on that motion

